                            Case 11-11531-LMI             Doc 53     Filed 06/20/11        Page 1 of 6
B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                       MIAMI DIVISION
   In re Angela Gomez                                                                Case No.     11-11531

                                                                                     Chapter      13



                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               No       1                 $321,889.00


 B - Personal Property                           No       5                  $17,532.00


 C - Property Claimed                            No       2
     as Exempt
 D - Creditors Holding                           No       2                                         $672,847.33
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             No       1                                                 $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      4                                            $85,393.67
     Nonpriority Claims
 G - Executory Contracts and                     No       1
    Unexpired Leases

 H - Codebtors                                   No       1


 I - Current Income of                           No       1                                                                  $2,232.26
     Individual Debtor(s)

 J - Current Expenditures of                     No       1                                                                  $1,881.23
    Individual Debtor(s)

                                             TOTAL        19                $339,421.00             $758,241.00
                             Case 11-11531-LMI            Doc 53      Filed 06/20/11        Page 2 of 6
Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                      MIAMI DIVISION
    In re Angela Gomez                                                                Case No.      11-11531

                                                                                      Chapter       13



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


¨    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                       $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:

 Average Income (from Schedule I, Line 16)                                     $2,232.26

 Average Expenses (from Schedule J, Line 18)                                   $1,881.23

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $2,232.26

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                            $346,897.69

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                           $85,393.67

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $432,291.36
                            Case 11-11531-LMI                                    Doc 53            Filed 06/20/11         Page 3 of 6
B6F (Official Form 6F) (12/07)
  In re Angela Gomez                                                                                               Case No. 11-11531
                                                                                                                                (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
¨   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                               HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                      DATE CLAIM WAS                                     AMOUNT OF




                                                                                                                                          UNLIQUIDATED
                MAILING ADDRESS                                                                        INCURRED AND                                        CLAIM




                                                                                                                                           CONTINGENT
                                                                 OR COMMUNITY
                                                    CODEBTOR




                                                                                                                                            DISPUTED
              INCLUDING ZIP CODE,                                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                             CLAIM.
             (See instructions above.)                                                            IF CLAIM IS SUBJECT TO
                                                                                                     SETOFF, SO STATE.


ACCT #: 1060XXXX                                                                       DATE INCURRED:   3/2006
                                                                                       CONSIDERATION:
America's Servicing Co.                                                                Mortgage deficiency                                                  Unknown
7495 New Horizon Way                                                                   REMARKS:
                                                                   -
Frederick, MD 21703                                                                    The Debtor surrenders and abandons all
                                                                                       interest in the property.


ACCT #: 6019XXXX                                                                       DATE INCURRED:   12/2005
                                                                                       CONSIDERATION:
Brandsmart/GEMB                                                                        Credit Card Purchases                                                  $730.00
POB 981439                                                                             REMARKS:
                                                                   -
El Paso, TX 79998-1439



ACCT #: 5178XXXX                                                                       DATE INCURRED:   8/2008
                                                                                       CONSIDERATION:
Capital One Bank USA                                                                   Credit Card Purchases                                                 $1,935.00
POB 30281                                                                              REMARKS:
                                                                   -
Salt Lake Ciry, UT 841300281



ACCT #: Unit 5E                                                                        DATE INCURRED:   3/2006
                                                                                       CONSIDERATION:
Caribean Towers Condominium                                                            Association Fees                                                      $5,000.00
Kesner, LLC                                                                            REMARKS:
                                                                   -
7545 East Tresure Dr.                                                                  Property foreclosed on April 2010. Debtor is
North Bay Village, FL 33141                                                            no longer in possession of property.


ACCT #: 1565XXXX                                                                       DATE INCURRED:   4/2006
                                                                                       CONSIDERATION:
Chase                                                                                  Mortgage deficiency                                                  Unknown
11200 W Parkland Ave                                                                   REMARKS:
                                                                   -
POB 3139                                                                               Property shortsaled. on July 28, 2010.
Milwakee, WI 53201

ACCT #: 5401XXXX                                                                       DATE INCURRED:   10/2006
                                                                                       CONSIDERATION:
Chase Bank USA, NA                                                                     Credit Card Purchases                                                $10,011.00
POB 15298                                                                              REMARKS:
                                                                   -
Wilmington, DE 19850



                                                                                                                                      Subtotal >             $17,676.00

                                                                                                                         Total >
                                                                           (Use only on last page of the completed Schedule F.)
________________continuation
       3                     sheets attached                   (Report also on Summary of Schedules and, if applicable, on the
                                                                   Statistical Summary of Certain Liabilities and Related Data.)
                             Case 11-11531-LMI                                      Doc 53                Filed 06/20/11     Page 4 of 6
B6F (Official Form 6F) (12/07) - Cont.
  In re Angela Gomez                                                                                                   Case No. 11-11531
                                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                             DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                           UNLIQUIDATED
                MAILING ADDRESS                                                                               INCURRED AND                                  CLAIM




                                                                                                                                            CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                             DISPUTED
              INCLUDING ZIP CODE,                                                                          CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                    CLAIM.
             (See instructions above.)                                                                   IF CLAIM IS SUBJECT TO
                                                                                                            SETOFF, SO STATE.


ACCT #: 4266XXXX                                                                          DATE INCURRED:    10/2004
                                                                                          CONSIDERATION:
Chase Bank USA, NA                                                                        Credit Card Purchases                                               $2,494.00
POB 15298                                                                                 REMARKS:
                                                                      -
Wilmington, DE 19850



ACCT #: 5424XXXX                                                                          DATE INCURRED:    2/2007
                                                                                          CONSIDERATION:
Citibank SD NA                                                                            Credit Card Purchases                                              $20,006.00
POB 6241                                                                                  REMARKS:
                                                                      -
Sioux Falls, SD 571176241



ACCT #: 50034XXXX                                                                         DATE INCURRED:    4/2006
                                                                                          CONSIDERATION:
Citifinancial Mortgage                                                                    Mortgage deficiency                                                Unknown
POB 9638                                                                                  REMARKS:
                                                                      -
Dept 0251                                                                                 The debtor surrenders and abandons all
Gaithersburg, MD 20898                                                                    interest in the property.


ACCT #: XXXX                                                                              DATE INCURRED:
                                                                                          CONSIDERATION:
Dade County Water and Sewer Department                                                    Utility bill                                                           $68.46
POB 026055                                                                                REMARKS:
                                                                      -
Miami, FL 33012



ACCT #: XXXX                                                                              DATE INCURRED:
                                                                                          CONSIDERATION:
Dade County Water and Sewer Department                                                    Utility bill                                                         $505.97
POB 026055                                                                                REMARKS:
                                                                      -
Miami, FL 33102



ACCT #: 6011XXXX                                                                          DATE INCURRED:    6/2005
                                                                                          CONSIDERATION:
Discover Card                                                                             Credit Card Purchases                                               $7,891.00
12 Reads Way                                                                              REMARKS:
                                                                      -
New Castle, DE 197201649



Sheet no. __________
              1        of __________
                               3     continuation sheets attached to                                                                   Subtotal >             $30,965.43
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) - Cont.
  In re Angela Gomez                                                                                                Case No. 11-11531
                                                                                                                                 (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                   CLAIM




                                                                                                                                         CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 6008XXXX                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
GEMB/JCP                                                                                  Credit Card Purchases                                           $1,200.00
POB 960001                                                                                REMARKS:
                                                                      -
Orlando, FL 32896



ACCT #: 1696XXXX                                                                          DATE INCURRED:   9/2006
                                                                                          CONSIDERATION:
HSBC Best Buy                                                                             Credit Card Purchases                                           $4,159.00
POB 15518                                                                                 REMARKS:
                                                                      -
Wilmington, DE 198505518



ACCT #: 5351XXXX                                                                          DATE INCURRED:   3/2009
                                                                                          CONSIDERATION:
KOHLS/Chase                                                                               Credit Card Purchases                                             $776.00
N56W17000 Ridgewood Dr                                                                    REMARKS:
                                                                      -
Menomonee Falls, WI 530515660



ACCT #: 158XXXX                                                                           DATE INCURRED:
                                                                                          CONSIDERATION:
Leasesource LSI/LLC                                                                       Credit Card Purchases                                             $975.00
POB 7861                                                                                  REMARKS:
                                                                      -
New York, NY 10116



ACCT #: 4794XXXX                                                                          DATE INCURRED:   8/2004
                                                                                          CONSIDERATION:
Macys/DSNB                                                                                Credit Card Purchases                                           $6,401.00
POB 8218                                                                                  REMARKS:
                                                                      -
Mason, OH 450408218



ACCT #: 6008XXXX                                                                          DATE INCURRED:   5/2006
                                                                                          CONSIDERATION:
Paragon Way Inc. C/O                                                                      Credit Card Purchases                                           $1,296.24
Enhanced Recovery Corporation                                                             REMARKS:
                                                                      -
8014 Bayberry Rd.
Jacksonville, FL 32256

Sheet no. __________
              2        of __________
                               3     continuation sheets attached to                                                                Subtotal >            $14,807.24
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                             Case 11-11531-LMI                                      Doc 53            Filed 06/20/11       Page 6 of 6
B6F (Official Form 6F) (12/07) - Cont.
  In re Angela Gomez                                                                                                 Case No. 11-11531
                                                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 4352XXXX                                                                          DATE INCURRED:   12/2007
                                                                                          CONSIDERATION:
Target National Bank                                                                      Credit Card Purchases                                             $9,776.00
C/O Target Credit Services                                                                REMARKS:
                                                                      -
POB 673
Minneapolis, MN 55440-0673

ACCT #: 5201XXXX                                                                          DATE INCURRED:   10/2005
                                                                                          CONSIDERATION:
WFNNB/New York & Company                                                                  Credit Card Purchases                                            $11,095.00
POB 182789                                                                                REMARKS:
                                                                      -
Columbus, OH 432182789



ACCT #: 8610XXXX                                                                          DATE INCURRED:   11/2005
                                                                                          CONSIDERATION:
WFNNB/Victoria's Secret                                                                   Credit Card Purchases                                             $1,074.00
POB 182789                                                                                REMARKS:
                                                                      -
Columbus, OH 432182789




Sheet no. __________
              3        of __________
                               3     continuation sheets attached to                                                                 Subtotal >             $21,945.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                         $85,393.67
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
